Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 1 of 61




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.       1:19-cv-02856-RBJ

UNITED STATES OF AMERICA,
ex rel. WILLIAM CUSICK,
Plaintiff,

v.

JOHN DAVID KUTZKO,
LINDA WINGATE KUTZKO,
TOBY DAVID LIROT,
CASEY DEE LIROT,
PAGOSA P& C, INC., a Colorado corporation,
TODD HENRY ANTROBUS,
WANDA LUCILLE ANTROBUS,
BRIAN KEITH HICKS,
PAGOSA SPRINGS PHARMACY LLC, a Colorado limited liability company,
NHS PHARMA SALES, INC., a California corporation,
NHS PHARMA, INC., a California corporation,
CHARLES RONALD GREEN, JR.,
MELINDA ELIZABETH GREEN,
DAVID PALMER TENNEY, and
DONALD E. JONES, Jr.
Defendants.


                AMENDED QUI TAM COMPLAINT AND JURY DEMAND


       The Relator, William Cusick, by and through his counsel, acting as a Relator on behalf of

the Government of the United States of America, states the following amended Complaint

against the defendants:

                                    I.     INTRODUCTION

       1.      This lawsuit is brought pursuant to the provisions of the False Claim Act

[“FCA”], 31 U.S.C. § 3729, et. seq., to recover monies which the United States overpaid because

of the actions of the defendants.
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 2 of 61




       2.      This qui tam suit arises out of illegal schemes by defendants to knowingly submit,

or cause to be submitted, claims to the Medicare, Tricare, Medicaid and other federal

government health care programs for prescriptions for drugs that were tainted by illegal

kickbacks, were derived from phony prescriber-patient relationships, represented illegal attempts

to overcharge these government health care programs for a given drug and/or were otherwise

false and fraudulent.

       3.      The principal events at issue transpired in the time period of August of 2014 to

the present and are ongoing.

                                       II.     PARTIES

       4.      Relator William Cusick (“Cusick”) is a resident of Pagosa Spring, Colorado.

       5.      The Defendant John David Kutzko is an adult resident of Pagosa Springs,

Colorado.

       6.      The Defendant Linda Wingate Kutzko is an adult resident of Pagosa Springs,

Colorado.

       7.      The Defendant Toby David Lirot is an adult resident of Lakewood, Washington

or Punta Gorda, FL.

       8.      The Defendant Casey Dee Lirot is an adult resident of Lakewood, Washington or

Punta Gorda, FL.

       9.      The Defendant Pagosa P & C, Inc. (“PP&C”) is a delinquent Colorado

corporation. From approximately November 9, 2015 until February of 2019, Pagosa P & C was

the corporate entity used to operate the pharmacy located at 426 Pagosa Street, Pagosa Springs

Colorado under the tradename “Pagosa Specialty Pharmacy.”

       10.     The Defendant Todd Henry Antrobus is an adult resident of Olive Hill Kentucky.



                                                2
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 3 of 61




       11.     The Defendant Wanda Lucille Antrobus is an adult resident of Olive Hill

Kentucky.

       12.     The Defendant Brian Keith Hicks is an adult resident of Stevenson, AL.

       13.     The Defendant Pagosa Springs Pharmacy LLC is a Colorado limited liability

company. From approximately January 17, 2017 until February of 2019, Pagosa Springs

Pharmacy LLC owned 100% of the stock of Pagosa P & C and was used to operate the pharmacy

located at 426 Pagosa Street known as Pagosa Specialty Pharmacy.

       14.     The Defendant NHS Pharma Sales, Inc. is a California corporation that maintains

its principal place of business at 508 W. Mission Avenue, Suite 202, Escondido, CA 92025.

       15.     The Defendant NHS Pharma, Inc. is a California corporation that maintains its

principal place of business at 508 W. Mission Avenue, Suite 202, Escondido, CA 92025.

       16.     The Defendant Charles Ronald Green, Jr. a/k/a Ron Green is an adult resident of

Florida and one of the individuals responsible for the acts and omissions of NHS Pharma Sales,

Inc. and NHS Pharma, Inc.

       17.     The Defendant Melinda Elizabeth Green is an adult resident of Florida and one of

the individuals responsible for the acts and omissions of NHS Pharma Sales, Inc. and NHS

Pharma, Inc.

       18.     The Defendant David Palmer Tenney is an adult California resident and one of

the individuals responsible for the acts and omissions of NHS Pharma Sales, Inc. and NHS

Pharma, Inc.

       19.     The Defendant Donald E. Jones, Jr. is an adult Florida resident who maintains his

residence at 21751 Mims Way, Lutz FL 33549.




                                               3
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 4 of 61




                            III.    JURISDICTION AND VENUE

       20.     This action is brought on behalf of the United States Government under 31 U.S.C.

§ 3729, et seq., the FCA. Cusick brings this action under 31 U.S.C. § 3730(b) to recover for

“false claims” which the defendants knowingly presented or caused to be presented to the

Government and/or concealed or caused to be concealed from the Government in violation of 31

U.S.C. § 3729(1)(A)-(C), (G) as amended May 20, 2009. This Court has jurisdiction over such

claims pursuant to 28 U.S.C. § 1331 and 31 U.S.C. § 3730.

       21.     In personam jurisdiction is appropriate in this district because the FCA provides

for nationwide service of process. 31 U.S.C. § 3732(a). In such circumstances, the relevant

inquiry is whether a given defendant has sufficient contacts with the United States as a whole.

Appl. To Enforce Admin. Subp. of S.E.C. v. Knowles, 87 F.3d 413, 417-419 (10th Cir. 1996).

The defendants have significant presence in Colorado and have abundant national contacts.

       22.     Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because the

defendants can be found or transact business in this district and/or because one or more of the

acts proscribed by the False Claims Act occurred within this district.

                              IV.     THE FALSE CLAIMS ACT

       23.     The False Claims Act (“FCA”) is the federal government’s primary tool to

recover losses due to fraud and abuse by those seeking payment from the United States. See S.

Rep. No. 345, 99 Cong., 2nd Sess. at 2 (1986) reprinted in 1986 U.S.C.C.A.N 5266.

       24.     The FCA was originally enacted in 1863, and was substantially amended in 1986

by the False Claims Amendments Act, Pub.L. 99-562, 100 Stat. 3153 and in 2009, and 2010, to

enhance the ability of the Government to recover losses it sustained as the result of its payment

of false claims.



                                                 4
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 5 of 61




       25.     The FCA provides in pertinent part that any person who:

               (A) knowingly presents, or causes to be presented, to an officer or employee of

       the United States Government or a member of the Armed Forces of the United States a

       false or fraudulent claim for payment or approval;

               (B) knowingly makes, uses, or causes to be made or used, a false record or

       statement to get a false or fraudulent claim paid or approved by the Government; [or]

               (C) conspires to defraud the Government by getting a false or fraudulent claim

       paid or approved by the Government;

is liable to the United States Government for a civil penalty of not less than $5,500 and not more

than $11,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990, plus 3

times the amount of damages which the Government sustains because of the act of that person.

See also 28 C.F.R. § 85.3(a)(9) (setting forth the current civil penalties level of not less than

$5,500 and not more than $11,000 for violations of the FCA). For violations occurring on or

after November 2, 2015, the civil penalty amounts range from a minimum of $11,181 to a

maximum of $22,363. 28 C.F.R. § 85.5.

       26.     The terms “knowing” and “knowingly,” which comprise the FCA’s scienter

requirement, are defined at 31 U.S.C. § 3729(b)(1)(A) to mean a person who, with respect to

relevant information:

          (i) has actual knowledge of the information;

          (ii) acts in deliberate ignorance of the truth or falsity of the information; or

          (iii) acts in reckless disregard of the truth or falsity of the information.

No proof of specific intent to defraud is required. 31 U.S.C. § 3729(b)(1)(B).




                                                   5
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 6 of 61




        27.     The FCA also broadly defines a “claim” as one that includes “any request or

demand, whether under a contract or otherwise, for money or property and whether or not the

United States has title to the money or property, that—(i) is presented to an officer, employee, or

agent of the United States; or (ii) is made to a contractor, grantee, or other recipient, if the money

or property is to be spent or used on the Government’s behalf or to advance a Government

program or interest, and if the United States Government—(i) provides or has provided any

portion of the money or property requested or demanded; or (ii) will reimburse such contractor,

grantee, or other recipient for any portion of the money or property which is requested or

demanded.” 31 U.S.C. § 3729(b)(2)(A).

        28.     The FCA empowers private persons having information regarding a false or

fraudulent claim against the government to bring an action on behalf of the government and to

share in any recovery.

        29.     The FCA defines “material” to mean “having a natural tendency to influence, or

be capable of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

        30.     The knowing request of federal reimbursement for the provision of medical

services that fail to meet the criteria set forth in federal statutes and regulations constitutes a

violation of the FCA. In this action, the defendants knowingly and routinely falsely charged, or

caused to be falsely charged, multiple government healthcare programs for prescription drugs.




                                                   6
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 7 of 61




                   V.     GOVERNMENT HEALTHCARE PROGRAMS

       31.     As sued in this Amended Complaint, government healthcare programs or GHPs

refers to healthcare programs paid for, in whole or in part, by federal funds. They include:

          A. Medicare:

       32.     In 1965, Congress enacted Title XVIII of the Social Security Act, known as the

Medicare program, to pay for the costs of certain healthcare services. Entitlement to Medicare is

based on age, disability, or affliction with end-stage renal disease. 42 U.S.C. §§ 426, 426A.

Medicare is a 100% federally subsidized health insurance system.

       33.     The Department of Health and Human Services (“HHS”) is responsible for the

administration and supervision of the Medicare program. The Centers for Medicare and

Medicaid Services (CMS) is part of HHS and is directly responsible for the administration of the

Medicare program.

       34.     CMS’ payment and audit functions under the Medicare program are contracted

out to insurance companies known as Medicare Administrative Contractors (“MAC’s”). MAC’s

determine payment amounts due the providers under Medicare law and under interpretive

guidelines published by CMS. See, 42 U.S.C. §1395h, 42 C.F.R. §§413.20(b) and 413.24(b).

       35.     Entitlement to Medicare is based on age, disability, or affliction with end-stage

renal disease. 42 U.S.C. §§ 426, 426-1, 426A. Individuals who are insured under Medicare are

referred to as Medicare “beneficiaries.”

       36.     The Medicare program consists of four parts: A, B, C, and D. Part D provides

prescription drug coverage. See 42 U.S.C. § 1395w-101, et seq.; 42 C.F.R. § 423.1, et seq. Part

D prescription drug plans are administered by private insurance companies approved by the




                                                7
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 8 of 61




federal government and receive contributions from the federal treasury. 42 U.S.C. § 1395w-101,

et seq.

            B. The Medicare Part D Program

          37.   In 2003, Congress passed the Medicare Prescription Drug, Improvement, and

Modernization Act, Pub. L. 108-173, 117 Stat. 2066, which established a voluntary prescription

drug benefit program for Medicare enrollees known as Medicare Part D. An individual is eligible

to enroll in Part D if the individual lives in the service area of the Part D plan and is entitled to

Medicare benefits under Part A or enrolled under Part B. 42 U.S.C. § 1395w-101(a)(3)(A); 42

C.F.R. § 423.30(a).

          38.   Medicare Part D coverage is not provided within the traditional Medicare

program. Medicare Part D is based on a private market model. Medicare contracts with private

entities known as Part D Plan “Sponsors” to administer prescription drug plans.

          39.   A Part D Plan Sponsor may be either a prescription drug plan, a Medicare

Advantage organization that offers a Medicare Advantage prescription drug plan, a Program of

All-inclusive Care for the Elderly (“PACE”) organization offering a PACE plan including

qualified prescription drug coverage, or a cost plan offering qualified prescription drug coverage.

42 C.F.R. § 423.4.

          40.   Medicare beneficiaries who wish to receive Part D benefits must enroll in a Part D

Plan offered by a Part D Plan Sponsor. The Part D Sponsors are regulated and subsidized by

CMS pursuant to one-year, annually renewable contracts. Part D Sponsors, in turn, enter into

subcontracts with pharmacies or other downstream entities to provide prescription drugs to the

Medicare Part D beneficiaries enrolled in their plans.




                                                   8
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 9 of 61




       41.      Generally, after a physician writes a prescription for a Medicare Part D

beneficiary, that patient can take the prescription to a pharmacy (or submit it to a mail order

specialty pharmacy) to be filled.

       42.      When a pharmacy dispenses a drug to a Medicare beneficiary, it submits an

electronic claim to the beneficiary’s Part D Plan Sponsor (sometimes through a pharmacy benefit

manager (“PBM”)) and receives reimbursement from the Part D Plan Sponsor (or the PBM) for

the portion of the drug cost not paid by the Part D beneficiary.

       43.      In order to be eligible to submit claims to a Part D Plan Sponsor, a pharmacy must

complete CMS Form 855S. Among the many requirements of this form, the pharmacy applicant

must certify:

          I agree to abide by the Medicare laws, regulations and program instructions that apply
          to me or to the organization listed in Section 1B of this application. The Medicare
          laws, regulations, and program instructions are available through the fee-for-service
          contractor. I understand that payment of a claim by Medicare is conditioned upon the
          claim and the underlying transaction complying with such laws, regulations and
          program instructions (including, but not limited to, the Federal Anti-Kickback Statute,
          42 U.S.C. section 1320a-7b(b) (section 1128B(b) of the Social security Act) and the
          Physician Self-Referral Law (Stark Law), 42 U.S.C. section 1395nn (section 1877 of
          the Social Security Act)).

       44.      The Part D Plan Sponsor notifies CMS that a drug has been purchased and

dispensed through a document called a Prescription Drug Event (“PDE”) record, which includes

data elements about the drug dispensed, the prescription, and the payment to the pharmacy.

       45.      Each PDE that is submitted to CMS is a summary record that documents the final

adjudication of a dispensing event based upon claims received from pharmacies and serves as the

request for payment for each individual prescription submitted to Medicare under the Part D

program. The data contained in PDEs are data related to payment of claims. The Integrated Data




                                                 9
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 10 of 61




 Repository process date is the date when the PDE is transmitted to CMS, such that CMS is

 informed of the PDE by the Part D Plan Sponsor.

        46.     Submitting PDE claims data to CMS, which is necessary for CMS to administer

 the Part D program and make payments to Part D Plan Sponsors for qualified drug coverage, is a

 material condition of payment for CMS’s provision of Medicare funds to Part D Plan Sponsors.

 See 42 C.F.R. § 423.322.

        47.     In order to receive Part D funds from CMS, Part D Plan Sponsors, their

 authorized agents, employees, and contractors are required to comply with all applicable federal

 laws and regulations, as well as CMS instructions. By statute, all contracts between a Part D Plan

 Sponsor and HHS must include a provision whereby the Part D Plan Sponsor agrees to comply

 with the applicable requirements and standards of the Part D program, as well as the terms and

 conditions of payment governing the Part D program. 42 U.S.C. § 1395w-112.

        48.     Further, CMS regulations expressly require Part D Plan Sponsors to certify, in

 their contracts with CMS, that they agree to comply with all federal laws and regulations

 designed to prevent fraud, waste, and abuse, including the False Claims Act and the Anti-

 Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b(b). See 42 C.F.R. § 423.505(h)(1).

        49.     CMS regulations require that all subcontracts between Part D Plan Sponsors and

 downstream entities, including pharmacies, contain language obligating the dispensing pharmacy

 to comply with all applicable federal laws, regulations, and CMS instructions. 42 C.F.R. §

 423.505(i)(4)(iv).

        50.     Medicare Part D only pays for drugs that are used for a medically accepted

 indication, which means a use that is approved under the Food, Drug, and Cosmetic Act, or a use

 which is supported by one or more citations included or approved for inclusion in one of the



                                                10
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 11 of 61




 specified compendia. 42 U.S.C. § 1395w-102(e)(1) & (e)(4); 42 U.S.C. § 1396r-8(g)(1)(B)(i)&

 (k)(6); 42 C.F.R. § 423.100.

        51.     Medicare Part D only pays for drugs that are dispensed upon a valid prescription.

 42 U.S.C. § 1395w-102(e); 42 C.F.R. § 423.100. A “Part D sponsor may only provide benefits

 for Part D drugs that require a prescription if those drugs are dispensed upon a valid

 prescription.” 42 C.F.R. § 423.104(h). A valid prescription must comply “with all applicable

 State law requirements constituting a valid prescription.” 42 C.F.R. § 423.100.

        52.     Moreover, prescriptions for controlled substances that are not issued for a

 legitimate medical purpose, such as recreational use, are not for “medically accepted indications”

 and are therefore not covered Medicare Part D drugs. 42 USCA § 1395w-102(e)(1); 42 C.F.R. §

 423.100.

        53.     All prescriptions for controlled substances are required to be dated as of, and

 signed on, the day when issued and to bear the full name and address of the patient; the drug

 name; strength; dosage form; quantity prescribed; directions for use; and the name, address, and

 registration number of the practitioner. 21 C.F.R. § 1306.05(a).

        54.     Part D plans may also exclude drugs from payment if the drugs are not reasonable

 and necessary for the diagnosis or treatment of illness or injury or to improve functioning of a

 malformed body part. 42 U.S.C. § 1395w-102(e)(3) (incorporating by reference 42 U.S.C. §

 1395y(a)).

            C. Medicaid:

        55.     The Medicaid program was also created in 1965 as part of the Social Security

 Act, which authorized federal grants to states for medical assistance to low-income, blind, or

 disabled persons, or to members of families with dependent children or qualified pregnant



                                                 11
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 12 of 61




 women or children. The Medicaid program is jointly financed by the federal and state

 governments.

        56.     CMS administers Medicaid on the federal level. Within broad federal rules, each

 state determines eligible groups, types and range of services, payment levels for services, and

 administrative and operating procedures. The states directly pay providers, with the states

 obtaining the federal share of the payment from accounts that draw on the United States

 Treasury. 42 C.F.R. §§ 430.0-430.30 (1994). The federal share of Medicaid expenditures varies

 by state and can fluctuate annually.

        57.     Federal Medicaid regulations require each state to designate a single state agency

 responsible for the Medicaid program. The agency must create and implement a “plan for

 medical assistance” that is consistent with Title XIX and with the regulations of the Secretary of

 the United States Department of Health and Human Services ("the Secretary").

        58.     After the Secretary approves the plan submitted by the State, the state is entitled

 each quarter to be reimbursed for a percentage of its expenditures made in providing specific

 types of “medical assistance” under the plan. 42 U.S.C. § 1396b(a)(1). This reimbursement is

 called “federal financial participation” (“FFP”).

        59.     Each state provides its Medicaid beneficiaries with a prescription drug benefit.

 The pharmacy reimbursement rate varies by state, but it is generally computed by determining

 the pharmacy’s estimated acquisition cost for the dispensed drug plus a reasonable dispensing

 fee.

           D. The TRICARE Program

        60.     TRICARE is a medical benefits program established by federal law. 10 U.S.C. §

 1071-1110b.



                                                 12
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 13 of 61




        61.     Formerly known as CHAMPUS, TRICARE is administered by the Defense

 Health Agency (“DHA”), a component of the Department of Defense (“DOD”). TRICARE

 provides health care benefits to eligible beneficiaries, who include, among others, active duty

 military personnel, retired service members, and military dependents.

        62.     TRICARE is a "health care benefit program" as defined by 18 U.S.C. § 24(b), that

 affects commerce, and as that term is used in 18 U.S.C. § 1347. 3.

        63.     TRICARE is a "Federal health care program" as defined by 42 U.S.C. § 1320a-

 7b(f), that affects commerce, and as that term is used in 42 U.S.C. § 1320a-7b(b).

        64.     TRICARE provides coverage for certain prescription drugs, including certain

 compounded drugs, which are medically necessary and prescribed by a licensed physician.

        65.     The DHA administers the TRICARE pharmacy benefits program. This program

 offers pharmacy services to eligible beneficiaries through direct care pharmacies located at

 Military Treatment Facilities and through the TRICARE retail and mail order pharmacy service

 contract(s).

        66.     At all times material hereto, Express Scripts, Inc. (“ESI”) has been the TRICARE

 retail and mail order pharmacy services contractor for all TRICARE beneficiaries located in the

 50 States, the District of Columbia, Puerto Rico, the U.S. Virgin Islands and Guam.

        67.     ESI functions as a Pharmacy Benefit Manager to provide mail order pharmacy

 services and a retail pharmacy network.

        68.     ESI also serves as a fiscal intermediary on behalf of the Department of Defense,

 processing and paying claims for all authorized pharmaceuticals and supplies dispensed to

 beneficiaries. The contract between TRICARE and ESI specifically provides that ESI pays for

 TRICARE prescriptions with government funds, and that the government acquires the covered



                                                 13
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 14 of 61




 drugs for the use of the federal government in support of the TRICARE contract. The contract

 between TRICARE and ESI incorporates the TRICARE Reimbursement Manual.

        69.      At all relevant times, TRICARE beneficiaries were responsible for sharing the

 costs of drug prescriptions filled by a retail or mail-order pharmacy by paying a copayment. 10

 U.S.C. § 1074g(a)(6); TRICARE Reimbursement Manual, Chapter 2, Addendum B.

        70.      A pharmacy seeking reimbursement from TRICARE must comply with

 TRICARE’s anti-fraud and abuse provisions. 32 C.F.R. § 199.9(a)(4). Fraudulent situations

 include commission and kickback arrangements. Id. § 199.9(c)(12). Abusive situations include

 the routine waiver of patient copayments. Id. § 199.9(b)(1).

        71.      TRICARE regulations specify that “[a]ll fraud, abuse, and conflict of interest

 requirements [in section 199.9] are applicable to the TRICARE pharmacy benefits program.”

 32C.F.R. § 199.21(p). TRICARE’s contract with ESI also incorporates the provisions of 32

 C.F.R. § 199.

        72.      To avoid abuse situations, providers are obligated to provide services and supplies

 under TRICARE that are: “Furnished at the appropriate level and only when and to the extent

 medically necessary . . .; of a quality that meets professionally recognized standards of health

 care; and, supported by adequate medical documentation as may reasonably be required under

 this part . . . to evidence the medical necessity and quality of services furnished, as well as the

 appropriateness of the level of care.” Id.

        73.      The TRICARE regulations, in turn, define “appropriate” medical care as that

 which is, inter alia, “[f]urnished economically”—i.e., “in the least expensive level of care or

 medical environment adequate to provide the required medical care.” 32 C.F.R. § 199.2.




                                                   14
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 15 of 61




        74.         Fraud or abuse by a pharmacy may result in the denial of the pharmacy’s claims

 or the exclusion or suspension of the pharmacy from participation in the TRICARE program. 32

 C.F.R. § 199.9(b), (f).

        75.         To receive reimbursement from TRICARE, a pharmacy must enter into a Provider

 Agreement with ESI, TRICARE’s pharmacy benefits manager. A Provider Agreement is

 essential to TRICARE’s claims submission.

        76.         Having a valid Provider Agreement was required in order to submit claims for

 drug reimbursement to TRICARE. Pagosa Specialty Pharmacy submitted such a Provider

 Agreement to ESI and used it to obtain reimbursement from TRICARE for compounded drugs at

 all times material hereto.

        77.         The defendants executed one or more provider agreements with ESI in which they

 agreed to:

              a. “be bound by and comply with the provisions of this Agreement and all applicable

              laws, rules and regulations including, but not limited to, fraud waste and abuse laws

              ….”

              b. “not submit a claim to ESI until it has preliminarily determined … that the

              prescription presented is valid and issued in accordance with applicable laws, rules and

              regulations.”

        78.         In the Provider Agreement(s) between ESI and the defendants, ESI expressly

 reserved the right to reverse any claim that these pharmacies submitted for a prescription if they

 “failed to … verify that the prescription was issued in accordance with applicable laws, rules and

 regulations.”




                                                    15
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 16 of 61




        79.     In addition, the defendants agreed in their Provider Agreement(s) with ESI to

 comply with ESI’s Provider Manual.

        80.     The ESI Provider Manuals in effect at all times material hereto also required the

 defendants to be aware of and comply with all state and federal law, “including anti-kickback

 statutes and self-referral statutes.” The Manuals warned that “[f]ailure to demonstrate

 compliance with these laws may result in immediate termination by [ESI].”

        81.     In addition, TRICARE covers pharmacy services but requires that “pharmacies []

 meet the applicable requirements of state law in the state in which the pharmacy is located.” 32

 C.F.R. § 199.6(d)(3); see also TRICARE Policy Manual 6010.57-M, Ch. 8, Sec. 9.1 (Feb. 1,

 2008 and April 1, 2015).

        82.     Under Colorado law, a pharmacy may lose its license to dispense drugs if it

 dispenses a drug based on a prescription that a pharmacist knows or has reason to believe is not

 based on a valid patient-prescriber relationship. Specifically, 3 CCR § 719-1:3.00.21 provides:

        A pharmacist shall make every reasonable effort to ensure that any order,
        regardless of the means of transmission, has been issued for a legitimate
        medical purpose by an authorized practitioner. A pharmacist shall not
        dispense a prescription drug if the pharmacist knows or should know that the
        order for such drug was issued without a valid preexisting patient-practitioner
        relationship. Such relationship need not involve an in-person encounter
        between the patient and practitioner if otherwise permissible under Colorado
        law.

        83.     TRICARE’s regulations also prohibit fraudulent and abusive billing relationships,

 defined as “incidents and practices which may directly or indirectly cause financial loss to the

 Government.” 32 C.F.R. § 199.9(b). One of the prohibited types of abuse set forth in the

 regulation is “charging [TRICARE] beneficiaries rates for services and supplies that are in

 excess of those charges routinely charged by the provider to the general public.” Id. §

 199.9(b)(2).

                                                 16
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 17 of 61




           E. Other Federal Government Healthcare Programs

        84.     The Federal Government administers other healthcare programs including, but not

 limited to CHAMPVA, the federal workers compensation program, Indian Health Services, and

 The Federal Employee Health Benefit program.

        85.     CHAMPVA administered by the United States Department of Veterans Affairs is

 a healthcare program for families of veterans with 100 percent service-connected disability. 31

 U.S.C. §§ 1781 et seq.; 38 C.F.R. § 17.270(a)

                      VI.    THE ANTI-KICKBACK STATUTE (“AKS”)

        86.     The Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b(b), arose out of

 Congressional concerns that inducements may corrupt patient and professional health care

 decision-making, impose higher costs on federal health care programs, and divert federal funds

 towards goods and services that are medically unnecessary, of poor quality, or even harmful to a

 vulnerable patient population. To protect the federal health care programs from these harms,

 Congress enacted a prohibition against the payment of kickbacks in any form.

        87.     First enacted in 1972, Congress strengthened the statute in 1977 and 1987 to

 ensure that kickbacks masquerading as legitimate transactions did not evade its reach. See Social

 Security Amendments of 1972, Pub.L. No. 92-603, §§ 242(b) and (c); 42 U.S.C. § 1320a-7b,

 Medicare-Medicaid Anti-Fraud and Abuse Amendments, Pub. L. No. 95-142; Medicare and

 Medicaid Patient and Program Protection Act of 1987, Pub. L. No. 100-93.

        88.     The AKS prohibits any person or entity from knowingly and willfully offering,

 paying, soliciting, or receiving any remuneration, directly or indirectly, to induce or reward a

 person for, inter alia, purchasing, ordering, arranging for, or recommending the purchase or




                                                 17
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 18 of 61




 ordering of any goods or services for which payment may be made, in whole or in part, under a

 federal health care program. 42 U.S.C. § 1320a-7b(b)(1), (2).

        89.     A federal health care program is defined, in part, as “any plan or program that

 provides health benefits, whether directly, through insurance, or otherwise, which is funded

 directly, in whole or in part, by the United States Government[.]” 42 US.C. § 1320a-7b(f). As

 such, the AKS applies to all GHPs, including Medicare, Medicaid and Tricare.

        90.     In relevant part, 42 U.S.C. § 1320a-7b(b) of the AKS provides:

           (b) Illegal remunerations:

        (1) whoever knowingly and willfully solicits or receives any remuneration (including any

        kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in kind —

                (A) in return for referring an individual to a person for the furnishing or arranging

                for the furnishing of any item or service for which payment may be made in

                whole or in part under a Federal health care program, or

                (B) in return for purchasing, leasing, ordering or arranging for or recommending

                purchasing, leasing or ordering any good, facility, service, or item for which

                payment may be made in whole or in part under a Federal health care program,

        shall be guilty of a felony and upon conviction thereof, shall be fined not more than

        $100,000 or imprisoned for not more than ten years, or both.

        (2) Whoever knowingly and willfully offers or pays any remuneration (including any

        kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in kind to

        any person to induce such person




                                                  18
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 19 of 61




                (A) to refer an individual to a person for the furnishing or arranging for the

                furnishing of any item or service for which payment may be made in whole or in

                part under a Federal health care program, or

                (B) to purchase, lease, order or arrange for or recommend purchasing, leasing or

                ordering any good, facility, service, or item for which payment may be made in

                whole or in part under a Federal health care program,

        shall be guilty of a felony and upon conviction thereof, shall be fined not more than

        $100,000 or imprisoned for not more than ten years, or both.

        91.     The AKS "seeks to ensure that referrals will be based on sound medical judgment

 and that providers will compete for business based on quality and convenience, instead of paying

 for ... [referrals]." OIG Advisory Op., No. 98-16 (Nov. 3, 1998). The AKS is intended to prevent

 arrangements that can lead to the distortion of medical decision-making, overutilization of

 services and supplies, increased costs to Federal health care programs, and unfair competition.

 See 65 Fed. Reg. 59,434, 59,440 (Oct. 5, 2000).

        92.     A claim for reimbursement from a federal health care program for items or

 services resulting from a violation of the AKS “constitutes a false or fraudulent claim” under the

 FCA. 42 U.S.C. § 1320a-7b(g).

        93.     In March 2010, Congress amended the AKS to clarify that “a claim that includes

 items or services resulting from a violation of this section constitutes a false or fraudulent claim

 for purposes of [the FCA].” Patient Protection and Affordable Care Act of 2010, Pub.L. No.

 111–148, 124 Stat. 119, codified at 42 U.S.C.§ 1320a–7b(g).

        94.     This amendment to the AKS clarifies “that all claims resulting from illegal

 kickbacks are considered false claims for purpose of civil action under the False Claims Act.”



                                                  19
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 20 of 61




 155 Cong.Rec. S10854 (statement of Sen. Leahy). See also, e.g., United States ex rel. Lutz v.

 Berkeley Heartlab, Inc., 225 F. Supp. 3d 487, 498 n.2 (D.S.C. 2016) (“[T]his Court finds that the

 weight of authority supports the conclusion that the 2010 amendment adding 42 U.S.C. 1320a-

 7b(g) was merely a clarification of the law; claims tainted by AKS violations constitute false

 claims for the purposes of the FCA regardless of whether the violation occurred before or after

 the 2010 amendment.”) (appeal pending post-judgment).

        95.     Under this provision, claims submitted to federal health care programs that result

 from violations of the AKS are per se false or fraudulent within the meaning of 31 U.S.C. §

 3729(a)(1)(A)-(B). Accordingly, a person violates the FCA when he or she knowingly submits,

 or causes to be submitted, claims to federal health care programs that result from violations of

 the AKS.

        96.     Specific intent is not required to establish a violation of the AKS. See 42 U.S.C. §

 1320a-7b(h) (“With respect to violations of this section, a person need not have actual

 knowledge of this section or specific intent to commit a violation of this section.”).

        97.     Furthermore, a violation of the AKS establishes the materiality element of an

 FCA claim. There is no contestable issue of materiality with regard to an AKS-based claim. All

 claims resulting from AKS violations are “false or fraudulent” as a matter of law. United States

 ex rel. McFarland v. Fla. Pharmacy Sols., 358 F.Supp.3d 1316, 1326 (m.d. Fla. 2017); United

 States ex rel. Lutz v. BlueWave Healthcare Consultants, Inc., 853 F.3d 131, 135 (4th Cir. 2017);

 United States ex rel. Goodman v. Arriva Med., 471 F.Supp.3d 830, 842 (M.D. Tenn. 2020).

        98.     For purposes of the AKS, the term “remuneration” includes the transfer of

 anything of value, “directly or indirectly, overtly or covertly, in cash or in kind.” 42 U.S.C. §

 1320a-7b(b)(1). 56 Fed.Reg. at 35958 (“Congress’s intent in placing the term ‘remuneration’ in



                                                  20
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 21 of 61




 the statute in 1977 was to cover the transferring of anything of value in any form or manner

 whatsoever.”).

        99.       Compliance with the AKS is a condition of payment by the Medicare and

 Medicaid programs, and payments by the Tricare program must also comply with the AKS.

        100.      In addition, violation of the statute can subject the perpetrator to exclusion from

 participation in federal health care programs and, effective August 6, 1997, to civil monetary

 penalties of $50,000 per violation and three times the amount of remuneration paid. 42 U.S.C. §

 1320a-7(b)(7) and 42 U.S.C. § 1320a-7a(a)(7).

        101.      A violation of the AKS makes a subsequent claim for payment by the Medicare,

 Medicaid or Tricare programs “false” under the FCA, with no need to subtract the fair market

 value of the claimed services when calculating damages.

        102.      The AKS contains several exceptions in which the prohibitions against providing

 compensation in exchange for referrals or orders do not apply. The “bona fide employment”

 exception provides that “any amount paid by an employer to an employee (who has a bona fide

 employment relationship with such employer) for employment in the provision of covered items

 or services” will not violate the AKS. 42 U.S.C. § 1320a-7b(b)(3)(B); 42 C.F.R. § 1001.952(i).

        103.      This type of compensation to bona fide employees is exempt from the statute’s

 prohibitions because the control that employers exercise over bona fide employees reduces the

 potential for abuse. See Medicare and State Health Care Programs: Fraud and Abuse; OIG Anti-

 Kickback Provisions, 56 Fed. Reg. 35952 (July 29, 1991).

        104.      The Office of Inspector General for the Department of Health and Human

 Services (“HHS-OIG”) has published safe harbor regulations defining arrangements that are not

 prohibited by the AKS because the practice would be unlikely to result in fraud or abuse. Safe



                                                   21
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 22 of 61




 harbor protection is afforded only to those arrangements that precisely meet all of the conditions

 set forth in the safe harbor and is an affirmative defense to an alleged AKS violation.

         105.    According to the safe harbor regulation, the term “employee has the same

 meaning” as the Internal Revenue Code’s definition of “employee,” found in 26 U.S.C. §

 3121(d)(2). 42 C.F.R. § 1001.952(i). The Internal Revenue Code provides, in relevant part, that

 an “employee” is “any individual who, under the usual common law rules applicable in

 determining the employer-employee relationship, has the status of an employee.” 26 U.S.C. §

 3121(d)(2).

         106.    As set forth in more detail below, Defendants knowingly and willfully paid

 remuneration to marketers to obtain referrals for drugs reimbursed by GHPs. At no time did

 defendants have a bona fide employment relationship with the marketers to whom they paid such

 remuneration.

         107.    By providing kickbacks to induce prescriptions for drugs reimbursed by GHPs,

 defendants knowingly presented, or caused to be presented, false or fraudulent claims to the

 GHPs.

                VII. THE DEFENDANTS’ DUTY TO UNDERSTAND THE LAW

         108.    Those who deal with the federal government, and in particular, those who seek

 compensation from the federal government, must use due care to ensure that when they request

 payment from the government they are legally entitled to receive that compensation. Every

 person who deals with the federal government is presumed to know the law. See, e.g., Cheek v.

 United States, 498 U.S. 192, 199, 111 S. Ct. 604, 609, 112 L. Ed. 2d 617 (1991); United States v.

 International Minerals & Chemical Corp., 402 U.S. 558, 91 S.Ct. 1697, 29 L.Ed.2d 178 (1971);

 United States v. Aquino-Chacon, 109 F.3d 936, 938 (4th Cir. 1997).



                                                 22
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 23 of 61




         109.    Failure to adequately familiarize oneself with the legal requirements for

 government compensation is evidence of reckless disregard. See United States v. Mackby, 261

 F.3d 821, 828 (9th Cir. 2001). This is of particular concern when an individual or entity files a

 considerable number of claims with the federal government. Id. (noting that twenty percent of

 the patients at the institution in question were funded by Medicare).

         110.    Furthermore, when an individual or entity is confused by the legal requirements

 of a regulation, it has “some duty to make a limited inquiry so as to be reasonably certain they

 are entitled to the money they seek.” United States v. Bourseau, 531 F.3d 1159, 1168 (9th

 Cir. 2008). The unique circumstances of each case dictate the extent of the duty to inquire. Id.

                VIII. THE IMPROPER CONDUCT OF THE DEFENDANTS

         111.    The allegations of the defendants’ improper conduct are based on the direct and

 independent knowledge of Relator Cusick.

         112.    Relator Cusick is a licensed pharmacist who worked part time for the Pagosa

 Specialty Pharmacy from July of 2016 until January of 2019.

         113.    While the defendants employed Cusick for filling conventional retail

 prescriptions, as opposed to filling the scripts that are the subject matter of this suit, during the

 course of his part time employment, Cusick developed a relationship with two of the primary

 defendants, John Kutzko and Toby Lirot.

         114.    Cusick also observed the day to day work environment of the individuals who

 engaged in the fraudulent schemes that are described below.

         115.    Cusick did not appreciate any wrongdoing by the defendants until approximately

 2018. At that time, two significant events occurred.




                                                   23
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 24 of 61




          116.   In June of 2017, Cusick bought the assets of one of Toby Lirot’s corporations,

 Lirot, Inc. The primary asset of this corporation was a pharmacy, Mill Street Drug. Mill Street

 Drug was a conventional pharmacy that was not involved with the fraudulent schemes described

 below.

          117.   Mill Street Drug was moved by Lirot, Inc. from 15 East Mill Street, Bayfield,

 Colorado to 871 CR 501 Bayfield Colorado shortly before the asset sale was concluded.

          118.   Once the sale of Lirot, Inc.’s assets was completed, Cusick operated this

 pharmacy as Bayfield Pharmacy.

          119.   In approximately April of 2018, Relator Cusick was approached by John Kutzko

 and other defendants about employing the Bayfield Pharmacy to participate in one or more of the

 schemes described below. Relator Cusick learned substantial information during the course of

 evaluating defendants’ overtures.

          120.   As part of the Lirot, Inc. asset sale, Cusick acquired one of Toby Lirot’s

 computers. Cusick eventually began exploring the information that had been left on this

 computer, including documents Toby Lirot had moved to the computer’s recycle bin, but had not

 deleted from this recycle bin. As it turns out there were substantial incriminating documents

 remaining on this computer that Cusick discovered and evaluated.

          A. The ownership and control history of Pagosa Specialty Pharmacy:

          121.   Relator Cusick’s knowledge about the defendants’ schemes originates from the

 operations of the pharmacy located at 426 Pagosa Street, Pagosa Springs, CO 81147.

          122.   At all times material hereto, the pharmacy located at 426 Pagosa Street, Pagosa

 Springs, CO generally operated under the name “Pagosa Specialty Pharmacy.”




                                                  24
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 25 of 61




        123.     In approximately August 2014 the ownership of the pharmacy located at 426

 Pagosa Street, Pagosa Springs Colorado changed when it was sold by its then owners, Toby Lirot

 and Casey Lirot, to a group of Florida investors headed by John Kutzko and Linda Kutzko.

        124.     In approximately May of 2014, the Kutzkos and the other Florida investors

 participated in the formation of a Florida corporation known as Petra Pharmacy Services, Inc.

 (“Petra”). John Kutzko was named as Petra’s president in its articles of incorporation.

        125.     The approximate August 2014 sale of the pharmacy located at 426 Pagosa Street,

 Pagosa Springs Colorado by the Lirots was to Petra. Part of the sale price was carried by a

 promissory note dated 8-11-14 in the amount of $300,000.00 from Petra to the Lirots’

 corporation, Pagosa P&C, Inc. (“PP&C”).

        126.     On August 12, 2014, Petra filed a Statement of Foreign Authority with the

 Colorado Secretary of State identifying that Petra was operating the pharmacy located at 426

 Pagosa Street, Pagosa Springs Colorado under the name “Pagosa Specialty Pharmacy.”

        127.     After the sale of this pharmacy by the Lirots to Petra, John Kutzko and Linda

 Kutzko were primarily responsible for the day to day operation of Pagosa Specialty Pharmacy.

        128.     Financially, things did not work well for Petra. Petra found itself in a significant,

 negative cash flow position.

        129.     John Kutzko and Petra began borrowing money from Toby Lirot and his

 corporation, PP&C. Under one loan agreement, John Kutzko and Petra borrowed $35,000.00 on

 July 1, 2015.

        130.     John Kutzko and Petra ran into default on their loan agreements with Toby Lirot

 and PP&C.




                                                  25
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 26 of 61




        131.     On November 9, 2015, Petra sold the assets of Pagosa Specialty Pharmacy to

 PP&C, primarily in exchange for PP&C forgiving the 8-11-14 promissory note with Petra then

 carrying an amount due of $296,928.65.

        132.    After the November 9, 2015 asset sale of Pagosa Specialty Pharmacy to PP&C,

 and lasting until January 17, 2017, Toby and Casey Lirot, John and Linda Kutzko and Don Jones

 were primarily responsible for the day to day operation of Pagosa Specialty Pharmacy.

        133.    From November 9, 2015 until approximately January of 2017, PP&C served as

 the alter ego of those individuals and entities responsible for its operation, including Toby Lirot,

 Casey Lirot, John Kutzko, Linda Kutzko, Don Jones, Todd Antrobus and Brian Hicks.

 Specifically, PP&C was used by these individuals and entities as an instrumentality to perpetuate

 a fraud and its separate corporate existence should be pierced to prevent fraud or injustice.

        134.    In addition, PP&C’s separate corporate existence should be ignored as it is

 currently a delinquent Colorado corporation.

        135.    In addition, these individuals, Toby Lirot, Casey Lirot, John Kutzko, Don Jones,

 Todd Antrobus and Brian Hicks, are not entitled to immunity by hiding behind the corporate

 structure of any corporate entities, including PP&C because they each actively participated in the

 wrongs complained of herein by direct involvement which includes conceiving or authorizing the

 wrongs or by active participation such as specific direction or sanctioning the conduct.

        136.    Once again, notwithstanding aggressive efforts by the Lirots, the Kutzkos and

 Don Jones to establish multiple illegal marketing schemes, in late September of 2016, the Lirots

 began working out the details of a sale of PP&C, including the Pagosa Specialty Pharmacy

 operation, to a group of Kentucky investors headed by Todd Antrobus.




                                                  26
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 27 of 61




        137.   On September 21, 2016, Brian Hicks, Todd Antrobus, John Kutzko and Toby

 Lirot reached a preliminary agreement to sell 60% of the Pagosa Specialty Pharmacy to Brian

 Hicks and Todd Antrobus for $435,000.00, with Brian Hicks putting up $225,000 in cash and

 Todd Antrobus signing a promissory note in the amount of $210,000.

        138.   Part of this deal provided that Brian Hicks and Todd Antrobus would take over

 operation of Pagosa Specialty Pharmacy effective October 1, 2016 and that John Kutzko and

 Linda Kutzko would remain active in the day to day operation of Pagosa Specialty Pharmacy,

 with Linda Kutzko remaining as the Pharmacist In Charge. So, from October 1, 2016 until the

 asset sale in January of 2017, Brian Hicks and Todd Antrobus were also responsible for the day

 to day operation of Pagosa Specialty Pharmacy.

        139.   The September 21, 2016 deal changed between September 21, 2016 and January

 17, 2017.

        140.   By January 17, 2017, Brian Hicks and Todd Antrobus formed a new Colorado

 limited liability company known as Pagosa Springs Pharmacy LLC (“PagSprPharmLLC”).

 Brian Hicks and Todd Antrobus were both managing members of PagSprPharmLLC.

        141.   In a deal initially signed by Todd Antrobus, Casey Lirot and Toby Lirot on

 January 2, 2017, and then by Brian Hicks on January 17, 2017, the Lirots sold to

 PagSprPharmLLC 100% of their stock in PP&C for a total purchase price of $725,000, paid by

 $370,000 in cash and $355,000 pursuant to a promissory note signed by Brian Hicks and Todd

 Antrobus, both as managing members of PagSprPharmLLC and individually as guarantors.

        142.   Since January of 2017 and continuing until approximately February of 2019,

 PagSprPharmLLC continuously operated Pagosa Specialty Pharmacy, with Brian Hicks, Todd




                                                27
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 28 of 61




 Antrobus and his wife, Wanda Antrobus, and Don Jones, exerting primary control over its day to

 day operation.

        143.      From approximately January of 2017 until approximately February of 2019,

 PagSprPharmLLC served as the alter ego of those individuals and entities responsible for its

 operation, including Todd Antrobus, Wanda Antrobus, Brian Hicks and Don Jones. Specifically,

 PagSprPharmLLC was used by these individuals and entities as an instrumentality to perpetuate

 a fraud and its separate corporate existence should be pierced to prevent fraud or injustice.

        144.      In addition, whether or not the corporate existence of PagSprPharmLLC is

 disregarded these individuals, Todd Antrobus, Wanda Antrobus, Brian Hicks and Don Jones, are

 individually liable for the wrongs complained of herein because they had direct involvement in

 the commission of these wrongs.

        145.      John Kutzko and Linda Kutzko left the operation of Pagosa Specialty Pharmacy

 in approximately March of 2017.

        146.      In approximately January or February of 2019, PagSprPharmLLC, Todd Antrobus

 and Brian Hicks defaulted on their note to the Lirots and PP&C. Thereafter PagSprPharmLLC,

 Todd Antrobus and Brian Hicks abandoned further operation of Pagosa Specialty Pharmacy.

        147.      For simplicity purposes, the sundry individuals and entities who operated or were

 responsible for the operation of Pagosa Specialty Pharmacy, including PP&C, Toby Lirot, Casey

 Lirot, John Kutzko, Linda Kutzko, Don Jones, Todd Antrobus, Wanda Antrobus, Brian Hicks,

 PagSprPharmLLC, will be referred to herein as the “Pagosa Specialty Pharmacy Defendants.”




                                                  28
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 29 of 61




        B. NHS Pharma Sales, Inc.

        148.    On December 15, 2015, PP&C d/b/a Pagosa Specialty Pharmacy entered into an

 illegal Marketing Services Agreement (“MSA”) with NHS Pharma Sales, Inc. (“NHS Sales”).

 This agreement was signed by Toby Lirot on behalf of Pagosa Specialty Pharmacy.

        149.    NHS Sales and its related company, NHS Pharma, Inc. (“NHS Pharma”), are

 California corporations that currently maintain their principal place of business at 508 W.

 Mission Ave., Suite 202, Escondido CA 92025.

        150.    At all times material hereto, the individuals primarily responsible for the day to

 day acts and omissions of NHS Sales and NHS Pharma have been Charles R. Green, Jr. (“Ron

 Green”), Melinda E. Green (“Melinda Green) and David P. Tenney (“Tenney”).

        151.    At all times material hereto, the corporate identity and distinction between NHS

 Sales and NHS Pharma was wholly disregarded so that their separate corporate entity status of

 each entity should be disregarded and the individuals responsible for their day to day operations

 should be held personally liable.

        152.    At all times material hereto, NHS served as the alter ego of those individuals and

 entities responsible for its operation, including Ron Green, Melinda Green and David Tenney.

 Specifically, NHS was used by these individuals and entities as an instrumentality to perpetuate a

 fraud and its separate corporate existence should be pierced to prevent fraud or injustice.

        153.    In addition, NHS Sales’ separate corporate existence should be disregarded as it is

 now a suspended California corporation.

        154.    In addition, Ron Green, Melinda Green and Tenney are individually liable for the

 wrongs complained of herein because they participated in these wrongs by direct involvement.




                                                 29
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 30 of 61




        155.    Where appropriate, NHS Sales and NHS Pharma will be referred to herein

 collectively as “NHS.”

        156.    The December 15, 2015 MSA established an illegal marketing scheme whereby

 Pagosa Specialty Pharmacy was obligated to compensate NHS Sales as much as 70% net on all

 referred prescriptions.

        157.     Pagosa Specialty Pharmacy’s files contain a document from NHS Pharma titled

 “Script Processing Service Contract” that is signed by Ron Green but not by PP&C. This

 document established an illegal kickback scheme whereby NHS Pharma charged PP&C “9% on

 the committed amount from the PBM.” The service NHS Pharma offered to provide in this

 script processing service contract was to process scripts so that PP&C would be able to receive

 payments from insurance companies.

        158.    From the available Pagosa Specialty Pharmacy financial records, it is known that

 Pagosa Specialty Pharmacy made the following payments to NHS:

                Date                        Payee                            Amount
               2-9-16                NHS Pharma Sales, Inc.                       $21,516.03
               2-9-16                  NHS Pharma, Inc.                             $3,227.40
              2-24-16                 NHS Pharma Sales                            $38,187.84
              2-24-16                 NHS Pharma Sales                              $5,728.17
               5-3-16                  NHS Pharma Inc.                            $30,134.28
               6-9-16                 NHS Pharma Sales                            $22,770.26
               6-9-16                  NHS Pharma Inc.                              $3,415.53
              6-17-16                 NHS Pharma Sales                              $3,447.76
              6-17-16                  NHS Pharma Inc.                                $517.76
              8-19-16                  NHS Pharma Inc.                            $14,254.51
              8-19-16                  NHS Pharma, Inc.                             $3,954.27
              9-15-16                  NHS Pharma, Inc.                             $1,960.55
              9-15-16                NHS Pharma Sales, Inc.                       $13,070.36
             10-11-16                  NHS Pharma, Inc.                           $21,480.33
             10-25-16                  NHS Pharma, Inc.                             $3,100.77
             11-08-16                 NHS Pharma Sales                              $9,977.50
             11-08-16                  NHS Pharma, Inc.                             $2,677.32
             12-08-16                NHS Pharma Sales, Inc.                         $3,080.96
             12-08-16                  NHS Pharma, Inc.                               $870.40

                                                30
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 31 of 61




               Total                                                                  $203,372.00


        159.    The NHS December 15, 2015 MSA and the Script Processing Service Contract

 are illegal marketing agreements. They attempt to disguise the kickbacks the two NHS entities

 received for referring to Pagosa Specialty Pharmacy prescriptions that were paid by GHPs.

        160.    The NHS kickback scheme originally intended to charge a relatively high

 commission on private insurance or non-GHP prescriptions (70%) and adding on a 9% charge

 with respect to all referred prescriptions including those paid in whole or in part by GHPs.

        161.    The 9% charge established by the Scripts Processing Service Contract fails to

 meet the personal services and management contracts exception found at 42 C.F.R. §

 1001.952(d), inter alia, as the compensation paid to NHS is determined by taking into account

 the volume or value of the referrals and/or business generated between the parties for which

 payment will be made in whole or in part by a GHP.

        162.    The overall illegality of the arrangement between the two NHS entities and PP&C

 is further illustrated by the facts that NHS’ marketers simultaneously generated private insurance

 and GHP prescription referrals for PP&C to fill and ship, NHS at times demanded a 60%

 commission on the GHP prescription referrals, and the 9% script processing charge was only

 applied to scripts NHS referred to PP&C.

        163.    In other words, NHS Pharma did not provide the script processing services

 identified in the Script Processing Service Contract for scripts that were generated for PP&C

 from other sources. The 9% charge was only charged with respect to NHS referred scripts, many

 of which were paid for by GHPs.

        164.    The fact that the MSA was intended to be a misleading document that was

 designed to cover up an illegal kickback arrangement, is illustrated by observing that, on the one

                                                 31
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 32 of 61




 hand, the MSA clearly states that NHS will provide marketing and advertising services “which

 do not involve any persons enrolled in Medicare, Medicaid or any other federally-funded health

 care programs,” yet in practice, about half of the prescriptions NHS referred to Pagosa Specialty

 Pharmacy were paid in whole or part by a GHP.

        165.    A spreadsheet in Pagosa Specialty Pharmacy’s possession evidences that NHS

 referred 69 prescriptions to Pagosa Specialty Pharmacy during the time period of January 19,

 2016 through February 12, 2016 with total sales of $63,646.61.

        166.    A February 18, 2016 invoice from NHS Sales to Pagosa Specialty Pharmacy

 claims “Committed Scripts” totaling $63,646.61 and requested a 60% commission on those sales

 for a total charge of $38,187.84. No deduction was made in this NHS Sales invoice for any GHP

 oriented scripts. A NHS Pharma invoice to Pagosa Specialty Pharmacy of the same date claimed

 9% on the entire $63,646.41 or a total charge of $5,728.17.

        167.    Pagosa Specialty Pharmacy paid both NHS invoices on February 24, 2018 via one

 cashier’s check from Toby Lirot made payable to NHS Pharma Sales in the amount of

 $38,187.84, and another cashier’s check from Toby Lirot to NHS Pharma Sales in the amount of

 $5,728.17.

        168.    A March 31, 2016 Excel sheet, titled “Third Party (NHS)” prepared by Don

 Jones, that was stored by Pagosa Specialty Pharmacy in its NHS computer file, evidences that

 between January 15, 2016 and March 30, 2016 Pagosa Specialty Pharmacy filled 138 NHS

 generated prescriptions, many of which were paid for by Tricare.

        169.    For example, this Excel sheet evidences that:

                a. On February 10, 2016, Pagosa Specialty Pharmacy filled a script for Patient A

                   for which Tricare paid $1,080.88;



                                                32
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 33 of 61




                 b. On February 10, 2016, Pagosa Specialty Pharmacy filled a script for Patient B

                      for which Tricare paid $1,080.88;

                 c. On February 10, 2016, Pagosa Specialty Pharmacy filled a script for Patient C

                      for which Tricare paid $1,080.88; and

                 d. On February 17, 2016, Pagosa Specialty Pharmacy filled a script for Patient D

                      for which Tricare paid $1,233.68.

         170.    A NHS generated spreadsheet representing the scripts NHS referred, that had

 committed dates between May 8, 2016 and May 13, 2016, evidences that NHS referred 18 scripts

 to PP&C. Of these 18 scripts, 9 were paid for by Medicare or Medicaid. The total value

 attributed to these 18 scripts was $12,882.34, broken down as $7,544.45 for “Commercial” and

 $5,337.89 for “Fed/State.” This document stated “Total Amount Due to NHS: $8,888.81” which

 is 69% of the total amount of $12,882.34. So NHS was claiming a 69% commission on the

 fed/state scripts.

         171.    Another NHS generated spreadsheet representing scripts NHS referred to PP&C

 that had committed dates between May 16, 2016 and May 31, 2016, evidences that NHS referred

 60 scripts. Of those 60 scripts, 32 were paid for by either Medicare or Medicaid. The total value

 attributed to these scripts was $30,874.95, broken down as $16,213.08 “Commercial” and

 $14,661.87 “Fed/State.” The document identified “Processing and Reps: (69%): $21,303.72”

 identified a credit of $1,322.39 due Pagosa Specialty Pharmacy and then stated “Total Amount

 Due to NHS: $19,981.33.” The charge of $21,303.72 represented 69% of $30,874.95, so NHS

 was claiming a 69% commission on the fed/state scripts.

         172.    The available documents from Pagosa Specialty Pharmacy’s files evidence that

 upon the demand for payment by NHS of this $19,981.33, Pagosa Specialty Pharmacy negotiated



                                                  33
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 34 of 61




 a lower rate and only paid 60% on the commercial scripts, or just $9,727.84 and only 9% on the

 fed/state claims or $2,778.74.

        173.    In other words, for that bill NHS renegotiated its claims and agreed to only charge

 its processing fee of 9% on the fed/state scripts, and not on the commercial claims, and to only

 charge its marketing services commission of 60% on the commercial, or non GHP claims.

        174.    The truth is that the parties were negotiating a package price that took into

 account the volume and value of the GHP paid scripts NHS had referred to Pagosa Specialty

 Pharmacy. Subsequent transactions evidence the formula varied depending on the nature or

 circumstances of a group of scripts.

        175.    For example, another NHS spreadsheet that itemizes scripts that had committed

 dates between June 2, 2016 and June 30, 2016 evidences that, for that time period, NHS referred

 to Pagosa Specialty Pharmacy 100 scripts with a total value of $56,236.98. 59 of these 100

 scripts were paid for by either Medicare, Medicaid or Tricare. The total value of the GHP based

 scripts was 61% of the total, or $34,453.04. As opposed to the previous versions of similar

 spreadsheets, this one only demanded NHS be paid 60% of the value of the commercial scripts

 or $13,070.36 and 9% of all the scripts, both commercial and fed/state, for a processing charge of

 $6,061.33.

        176.    Further negotiation between NHS and Pagosa Specialty Pharmacy then lowered

 the amount Pagosa Specialty Pharmacy paid for the processing charges. A subsequent

 spreadsheet evidences NHS agreed to only charge the 9% processing fee on the commercial

 scripts, so the original charge of $6,061.33 was lowered to $1,960.55.

        177.    On September 15, 2016, Pagosa Specialty Pharmacy paid both claims, wiring

 NHS Pharma $1,960.55 and NHS Sales $13,070.36.



                                                 34
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 35 of 61




        178.    But this resolution of the billing for the June scripts did not stop the negotiations

 between these parties. Another NHS spreadsheet representing the scripts that had committed

 dates between July 1, 2016 and July 29, 2016 evidences that, for that time period, NHS referred

 over one hundred scripts to Pagosa Specialty Pharmacy. The total value of these scripts was

 $62,406.97. $32.167.79 was attributed to commercial scripts. $30,239.18 was attributed to

 fed/state scripts. In this spreadsheet, NHS claimed it was owed 60% of the commercial claims,

 or $19,300.67 and 9% of all the scripts or $5,616.63. Accounting for a credit due Pagosa

 Specialty Pharmacy of $3,436.97, NHS claimed it was owed a total amount of $21,480.33.

        179.    Pagosa Specialty Pharmacy paid this amount, $21,480.33, on October 11, 2016 by

 wiring the funds to NHS Pharma’s account.

        180.    The relationship between Pagosa Specialty Pharmacy and NHS continued through

 at least December of 2016. NHS is believed to have engaged in similar acts with other

 pharmacies throughout the country which illegal activities have continued until the present.

        181.    NHS continues to maintain a website in which it advertises its marketing abilities

 to pharmacies: http://www.nhspharma.com/ . NHS’s interaction with Pagosa Specialty

 Pharmacy is just one example of a nationwide fraudulent scheme NHS, and the individuals

 responsible for its acts and omissions, have engaged in since at least 2015 and that is continuing.

        182.    To the extent any of the NHS referred scripts were generated by individuals NHS

 and/or Pagosa Specialty Pharmacy attempted to set up as W-2 employees, such employment

 relationships were a sham.

        183.    For one, payments were made directly by Pagosa Specialty Pharmacy to NHS,

 and as an entity, NHS could never qualify as a bona fide employee per the provisions of 42

 C.F.R. § 1001.952 or 26 U.S.C. § 3121(d)(2).



                                                  35
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 36 of 61




        184.    Second, any individuals these defendants attempt to pass off as employees of

 Pagosa Specialty Pharmacy never engaged in a bona fide employment relationship with Pagosa

 Specialty Pharmacy. Per the IRS guidelines: (1) from a behavioral perspective, Pagosa Specialty

 Pharmacy never controlled or had the right to control these individual’s actions – the individuals

 were free from the control and direction of the performance of their work; (2) from a financial

 perspective, the business aspects of the job were not controlled by Pagosa Specialty Pharmacy;

 and/or (3) there were no written contracts of employment and/or there were no consistent wages

 or benefits as one would expect in an employment relationship.

        185.    Furthermore, use of the IRS’ 20 Factor Test for determining whether an

 individual is an independent contractor or an employee evidences that said individuals would

 never qualify as employees. From use of this 20 Factor Test there literally was no indicia of an

 employment relationship.

        186.    And, from a simple common law standpoint, Pagosa Specialty Pharmacy never

 had the right to control these individuals, or exercised the requisite level of control over these

 individuals, with respect to the specific details of results, and the means by which the results

 were accomplished. Pagosa Specialty Pharmacy simply had no right to control the work

 performed by these individuals, particularly as to when and how it was completed.

        187.    The evidence is abundant that these individuals independently obtained

 prescriptions, with no direction from, or control by, Pagosa Specialty Pharmacy. These

 individuals sporadically obtained prescriptions and then referred these prescriptions to Pagosa

 Specialty Pharmacy for a percentage based commission. Any efforts to claim they were bona

 fide employees is a sham.




                                                  36
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 37 of 61




        188.    The scripts which NHS referred to Pagosa Specialty Pharmacy and other

 pharmacies nationwide violate the AKS because these pharmacies paid remuneration to NHS in

 return for NHS referring prescription drug patients to these pharmacies for the purpose of these

 pharmacies filling scripts that were paid in whole or in part by a GHP.

        189.    Because the subsequent claims by these pharmacies, including Pagosa Specialty

 Pharmacy, to GHPs for reimbursement with respect to these referred claims resulted from illegal

 kickbacks, said claims were false for purposes of the FCA.

        190.    The subsequent claims by these pharmacies, including Pagosa Specialty

 Pharmacy, to GHPs for reimbursement were also false because they arose from phony doctor-

 patient relationships, of which the NHS defendants and the participating pharmacies knew or

 should have known. The illegal marketers employed a regular group of health care

 professionals, many of whom were not physicians, such as physician assistants or nurse

 practitioners, who had DEA authorization to write prescriptions. Once the marketer had

 identified a given patient interested in acquiring the prescription drug(s), the marketer would

 have a pre-arranged health care professional talk with the patient with a pre-ordained mission of

 writing the prescription. In many cases, the health care professional would receive a kickback in

 the form of a commission for writing the prescription.

        191.    In addition, the subsequent claims by these pharmacies, including Pagosa

 Specialty Pharmacy, to GHPs for reimbursement were also false because the intent of obtaining

 these particular prescriptions was to sell a given patient the most expensive form of a given

 drug(s) when less expensive forms of a given drug were available, or a less expensive substitute

 drug would have been appropriate to achieve the sought health remedy. By intentionally selling,

 or causing the sale of, the most expensive drug possible, the NHS defendants and the Pagosa



                                                 37
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 38 of 61




 Specialty Pharmacy defendants, violated Tricare and Medicare’s requirements to provide

 medically necessary drugs in the most economic form possible.

        192.    The actions by the NHS defendants and the Pagosa Specialty Pharmacy

 defendants demonstrate a requisite degree of “knowledge” or scienter. In particular, the fact that

 the MSA attempts to claim no scripts will be referred with respect to individuals who are

 enrolled in a GHP, yet about half of the scripts which NHS referred were with respect to GHP

 beneficiaries demonstrates these defendants actually knew their actions violated the FCA, or had

 a reckless disregard or deliberate indifference with respect to whether their actions violated the

 FCA.

        193.    In addition, the MSA specifically disavows the referral of any GHP based scripts,

 which demonstrates that the defendants understood the AKS, yet NHS consistently charged a

 percentage based commission on GHP based scripts.

        194.    And, the NHS defendants’ overall acts of charging a percentage commission to

 solicit and refer scripts to be filled by one or more pharmacies is such a clear violation of the

 AKS and the FCA that, at a minimum, a reckless disregard or deliberate indifference with

 respect to whether their actions violated the FCA is established.

        195.    The falsity of these claims was material. The government would not have paid

 these claims if it had known they were generated by an illegal kickback scheme; and the

 government has on repeated occasions prosecuted individuals and entities, both criminally and

 civilly, who have engaged in similar illegal prescription drug referral schemes.

        196.    Furthermore, there is no contestable issue of materiality with regard to an AKS-

 based claim. All claims resulting from AKS violations are “false or fraudulent” as a matter of

 law.



                                                  38
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 39 of 61




        197.    The illegal activities involving the NHS defendants implicates all of the Pagosa

 Specialty Pharmacy defendants. From the computer records in Relator Cusick’s records, the

 illegal activities with the NHS defendants was ongoing as of December 2016 with no indication

 it was stopping.

        C. The Pagosa Specialty Pharmacy defendants involvement in other schemes:

        198.    The NHS defendants are not the only individuals or entities with whom the

 Pagosa Specialty Pharmacy defendants engaged in illegal activities. The available records

 evidence several, widespread schemes by the Pagosa Specialty Pharmacy defendants to engage

 in illegal marketing schemes to bill GHPs for prescription drugs during the time period of

 August 2014 until approximately February of 2019. The following are several examples of other

 illegal schemes in which the Pagosa Specialty Pharmacy defendants participated:

        (1) Choice Medical Consultants:

        199.    For example, on April 1, 2016, Pagosa Specialty Pharmacy entered into a License

 Agreement with Choice Medical Consultants, LLC (“CMC”). Then, on May 23, 2016, PP&C

 entered into a consulting agreement with CMC. This document evidences that CMC agreed to

 “perform the services set forth herein” and that “All Employees of Firmare (sic)W-2 employees

 and are subject to all of the Companies HR policies and procedures.” The introductory paragraph

 of this agreement designates CMC as “the Firm.”

        200.    The Schedule A to this agreement evidences that the services CMC agreed to

 provide was the referral of prescriptions. Schedule A provides that CMC, the Firm, would earn

 a commission between 65.5% and 70% of the net profit “on adjudicated claims billed for new

 prescriptions and refills” depending on whether the claims were factored.




                                                39
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 40 of 61




        201.    The intent of this agreement was to establish an illegal GHP prescription referral

 arrangement whereby CMC would charge a specific percentage determined by taking into

 account the volume and/or value of GHP adjudicated prescriptions referred to Pagosa Specialty

 Pharmacy.

        202.    Pagosa Specialty Pharmacy’s available financial records evidence that it engaged

 in this illegal prescription referral arrangement with CMC through at least October, 2016,

 making the following payments to CMC:

             Date                          Payee                               Amount
           4-21-16             Choice Medical Consultants, LLC                       $2,418.57
            6-9-16             Choice Medical Consultants, LLC                       $1,707.77
           9-15-16             Choice Medical Consultants, LLC                       $2,391.00
           9-15-16             Choice Medical Consultants, LLC                       $1,187.81
           9-30-16             Choice Medical Consultants, LLC                       $4,585.00
           9-30-16             Choice Medical Consultants, LLC                       $3,215.00
          10-11-16             Choice Medical Consultants, LLC                         $933.53
          10-27-16             Choice Medical Consultants, LLC                         $534.29
            Total                                                                   $16,972.97


        (2) Assured Medical Group, LLC:

        203.    In approximately June or July of 2016, Pagosa Specialty Pharmacy entered into

 an illegal prescription referral arrangement with Assured Medical Group, LLC (“AMG”).

        204.    Pagosa Specialty Pharmacy’s available bank records evidence the following

 payments were made to AMG:

            Date                           Payee                               Amount
          8-19-16                Assured Medical Group, LLC                          $4,000.00
           9-2-16                Assured Medical Group LLC                           $7,440.00
          9-27-16                Assured Medical Group LLC                           $4,919.93
          10-11-16               Assured Medical Group LLC                           $8,735.53
          10-25-16               Assured Medical Group LLC                           $5,342.93
          12-12-16               Assured Medical Group LLC                           $2,750.00
           Total                                                                    $33,188.39



                                                 40
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 41 of 61




        205.    Invoices from AMG to Pagosa Specialty Pharmacy evidence the parties utilized

 phony invoices. For example, a July 1, 2016 invoice from AMG to Pagosa Specialty Pharmacy

 demanded payment in the amount of $4,000.00 for “Purchase of Leads Long form Inclusive

 recordings.” Pagosa Specialty Pharmacy paid this invoice by wire transfer on August 19, 2016.

        206.    Pagosa Specialty Pharmacy’s internal records demonstrate AMG was actually

 billing for the illegal referral of prescriptions. One pdf document in Pagosa Specialty

 Pharmacy’s “Assured Medical Group LLC” computer file is titled “Frank and Eric payment 9-1

 to 9-15 2016.” This document is a September 24, 2016 pdf spreadsheet evidencing 17

 adjudicated prescriptions with a total net value of $11,039.85. This document evidences 50%, or

 $5,519.93, is owed to “Frank and Eric.”

        207.    Pagosa Specialty Pharmacy paid this amount owed to “Frank and Eric,” on

 September 27, 2016 by paying $4,919.93 to Assured Medical Group LLC by wire transfer and

 paying an additional $600 in so called W-2 wages to Eric Goldberg.

        208.    Another Pagosa Specialty Pharmacy record maintained in its “Assured Medical

 Group LLC” computer file is titled “wire 09_02_11_16_12” and is dated 9-2-16. This five page

 pdf document contains a two page spreadsheet in which the “Sales Person” is identified as

 “Medical Assured.” This spreadsheet itemizes a series of prescriptions totaling $49,489.84, with

 a cost of $25,579.21. Another page of this five page pdf document contains a September 1, 2016

 invoice from AMG in the amount of $7,440.00 for “Purchase of Leads Long form Inclusive

 recordings.” Pagosa Specialty Pharmacy paid this invoice for $7,440.00 by wire transfer on

 September 2, 2016.

        209.    Other spreadsheets in Pagosa Specialty Pharmacy’s “Assured Medical Group

 LLC” computer file evidence that AMG was generating substantial prescription referrals. One



                                                 41
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 42 of 61




 such spreadsheet covering the time period of September 16, 2106 through September 30, 2016

 evidences the referral of 28 scripts with a total net value of $18,670.65. This spreadsheet

 evidences that 50% of $18,670.65, or $9,335.33, was owed to AMG. Pagosa Specialty

 Pharmacy paid this amount to AMG on October 11, 2016 by wire transferring $8,735.33 to

 AMG and paying $600 in bogus W-2 wages to one of AMG’s sales people.

        210.    Another spreadsheet covering the time period October 3, 2016 through October

 13, 2016 evidences that 19 scripts with a total net value of $10,685.85 were referred to Pagosa

 Specialty Pharmacy by Assured Medical. This spreadsheet evidences that 50% of $10,685.85, or

 $5,342.93, was owed to AMG. Pagosa Specialty Pharmacy paid this amount, $5,342.93, by wire

 transfer to AMG on October 25, 2016.

        211.    It is also established by Pagosa Specialty Pharmacy’s records that a portion of

 AMG’s script referrals involved prescriptions that were paid in whole or in part by GHPs. One

 Excel spreadsheet in Pagosa Specialty Pharmacy’s computer files titled “Assured Medical

 09.01.16 to 09.15.16” evidences several scripts in which Medical Assured was designated as the

 sales person and for which the primary insurer was Tricare:

            a. On September 12, 2016 a script was filled for Tricare insured Patient E of Saint

                Petersburg Florida;

            b. On September 6, 2016 a script was filled for Tricare insured Patient F of

                Charleston, IN; and

            c. On September 13, 2016, two scripts were filled for Tricare insured Patient G of

                Charleston, IN.




                                                 42
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 43 of 61




        (3) AP Global Pro Inc.:

        212.   In approximately August of 2016, Pagosa Specialty Pharmacy entered into an

 illegal marketing relationship with AP Global Pro, Inc. (“APG”).

        213.   APG is a Florida corporation that was incorporated on June 23, 2016 by Weiss

 Law Group, PA (“WLG”) and shares the same principal business address as this law firm: 5531

 N. University Drive, Suite 103, Coral Springs, FL 33067.

        214.   Pagosa Specialty Pharmacy was instructed to make payments to APG via wire

 transfer to WLG. Pagosa Specialty Pharmacy’s available records evidence that from August

 2016 through October of 2016, Pagosa Specialty Pharmacy made payments for APG’s marketing

 services directly to WLG in the amount of $64,347.43, specified as follows:

            Date                           Payee                               Amount
          8-16-16                     Weiss Law Group                               $20,304.21
           9-1-16                     Weiss Law Group                               $10,973.63
           9-9-16                     Weiss Law Group                               $11,043.40
          9-26-16                     Weiss Law Group                               $12,930.96
          10-12-16                    Weiss Law Group                                $6,819.33
          10-25-16                    Weiss Law Group                                $2,275.90
           Total                                                                    $64,347.43


        215.   APG used phony invoices to disguise that it was requesting payment for illegal

 marketing and referral services. For example, the invoice APG sent on August 12, 2016, invoice

 #1026, requested payment for “Call Center Pro-July 1-July 31,” “VOIP Service,” and “CRM-

 Software.” This invoice requested payment in the amount of $20,304.21. Pagosa Specialty

 Pharmacy paid that amount, $20,304.21, to WLG on August 16, 2016 via wire transfer.

        216.   A corresponding APG spreadsheet dated August 12, 2016, however, evidences

 APG was referring prescriptions to Pagosa Specialty Pharmacy, not providing call center




                                               43
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 44 of 61




 services, software or VOIP services. This APG spreadsheet details 29 prescriptions that APG

 referred to Pagosa Specialty Pharmacy, with a total net value of $41,018.60.

        217.    Similarly, a September 7, 2016 APG invoice, #1033, demanded payment in the

 amount of $11,043.40 for “Call Center Pro (Customer Service- Aug26-Aug31,” Software Fees,”

 and VOIP Telecom.” Pagosa Specialty Pharmacy paid this amount, $11,043.40, to WLG via

 wire transfer on September 9, 2016.

        218.    However, other records Pagosa Specialty Pharmacy maintained in its computer

 evidence that its payments to WLG were not for call center services, software fees or VOIP

 telecom, but were for the illegal referral of prescriptions.

        219.    For example, one Pagosa Specialty Pharmacy document titled “wire detail

 2016_09_01_15_22_11” evidences 50 scripts APG referred to Pagosa Specialty Pharmacy that

 were filled between 8-4-16 and 8-26-16 with a total net value of $31,989.30. APG claimed a

 commission of 55% or $17,594.12 on these referred prescriptions. Allowing for credit to Pagosa

 Specialty Pharmacy of $6,620.51, APG claimed it was owed $10,973.61. Pagosa Specialty

 Pharmacy paid this amount, $10,973.61, to WLG via wire transfer on September 1, 2016.

        220.    Another spreadsheet stored on September 24, 2016, in Pagosa Specialty

 Pharmacy’s computer’s “AP Global” file, titled “AP Global 2016_09_24_09_46_50,” evidences

 27 scripts APG referred to Pagosa Specialty Pharmacy that were filled between 9-1-16 and 9-15-

 16. These 27 scripts had a total net value of $24,601.75. APG demanded a 55% commission on

 these 27 referred scripts, or $13,530.96. In a handwritten notation on this spreadsheet, Pagosa

 Specialty Pharmacy wrote “13,530.96- 600.00 W-2 $12,930.96,” evidencing that Pagosa

 Specialty Pharmacy was deducting $600 in phony W-2 wages from APG’s claim leaving a




                                                   44
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 45 of 61




 balance due of $12,930.96. Pagosa Specialty Pharmacy paid this amount, $12,930.96, via wire

 transfer to WLG on 9-26-16.

        221.    The available records evidence that most of the scripts APG referred to Pagosa

 Specialty Pharmacy were paid for by GHPs.

        222.    For example, the APG spreadsheet dated August 12, 2016 that is discussed above

 itemized 29 prescriptions. Of those 29 prescriptions, Tricare was the insurer for 24 of them.

        223.    Another Pagosa Specialty Pharmacy Excel spreadsheet titled “08.20.16 to 8.26.16

 Third Party Claims,” that was created by Don Jones on 9-6-16, provides significant detail for 40

 scripts. One column on this Excel sheet identifies the insurance and another identifies the sales

 person. Of the 40 scripts, APG was listed as the sales person for 17 of the scripts. Of those 17

 APG scripts, 13 were paid by Tricare.

        224.    On August 29, 2016 Don Jones created an Excel spreadsheet titled “Year to Date

 Rep Group Data.” This Excel sheet provides substantial detail regarding 1311 prescriptions

 generated by marketers. Of those 1311 scripts, 113 were attributed to APG as the sales person.

 Of those 113 APG generated scripts, 72 were paid by Tricare.

        225.    Another Excel sheet created by Don Jones on August 29, 2016, titled “2016

 Marketing Rep Commissions – Year to Date Rep Group Data” similarly itemizes 553

 prescriptions. Of those 553 scripts, 70 were attributed to APG as the sales person. Of those 70

 APG generated scripts, 57 were paid by Tricare.

        (4) Optimum Pharmacy Services, LLC

        226.    Optimum Pharmacy Services, LLC (“OPS”) is either a registered limited liability

 company of unknown origin or it is an unincorporated association.




                                                 45
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 46 of 61




         227.    At all times material hereto, OPS maintained its principal place of business at 115

 Mill Street, Olive Hill Kentucky.

         228.    In 2016, Pagosa Specialty Pharmacy entered into an agreement with OPS to use

 OPS’s service to create prescriptions and refer them to Pagosa Specialty Pharmacy for

 fulfillment, in exchange for Pagosa Specialty Pharmacy paying OPS a commission.

         229.    OPS used a process it called “data mining.” The essential concept was that OPS

 would review information regarding Pagosa Specialty Pharmacy’s existing pharmacy clients and

 determine a method to create new and more lucrative prescriptions for those patients.

         230.    The method involved OPS reviewing existing patients and prescriptions,

 determining more expensive drugs which could replace an existing prescription and then

 performing a test bill to the patient’s insurance company, without the patient’s permission, to see

 if that test bill would get paid.

         231.    Once OPS found a successful combination of a more expensive drug and an

 insurance company that would pay for this more expensive drug, it would contact the patient’s

 practitioner and subtly cause that professional to prescribe the new drug.

         232.    In December of 2016, Todd Antrobus and his group had taken over the

 management of Pagosa Specialty Pharmacy. In an effort to recruit Relator Cusick to participate

 in mining Pagosa Specialty Pharmacy’s data, Todd Antrobus and Drew Hicks sent Cusick

 several emails about how this work could be done:

                 a. On December 8, 2016 at 9:13 am, Todd Antrobus sent Cusick an email that

                     attached an Excel sheet labeled “Retail Report 11.01.16 to 11.30.16.” This

                     retail report identified 777 patients and provided detailed information

                     regarding each patient’s last prescription.



                                                  46
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 47 of 61




             b. At 9:44 a.m. on December 8, 2016, Todd Antrobus sent a second email to

                Cusick that contained an attachment labeled “Mebolic Information Sheet.”

                The sheet extolled the virtues of a prescription vitamin Todd Antrobus was

                trying to push that cost $1,749.00 per prescription.

             c. At 9:48 a.m. on December 8, 2016, Todd Antrobus sent a third email to

                Cusick that contained an updated retail report. This report contained a new

                tab for “Metabolic Fit.”

             d. At 10:05 a.m. on December 8, 2016, Todd Antrobus sent Cusick a fourth

                email that contained an Excel sheet with the title “TPS Product.” Within the

                body of this email, Antrobus commented that he needed to get Cusick a list of

                which drugs were working best so far – and that what drug might not work for

                one insurance company might work for another. The Excel sheet identified a

                number of common drugs being pushed for sale and identified the difference

                in pharmacy cost and reimbursement rates. The information in this Excel

                sheet would allow a pharmacy to determine the most profitable drug to sell to

                a given patient.

             e. At 4:14 p.m. on December 8, 2016, Todd Antrobus sent Cusick a fifth email

                that contained an Excel Sheet titled “Pagosa Springs Potential Opportunities

                11.1.16-11.30.16.” Antrobus indicated Drew wanted him to send this sheet to

                Cusick. The Excel sheet contained a list of 173 patients and their recent

                prescriptions. Contained within this email chain is the email from Drew

                Hicks to Antrobus in which Hicks comments that he “[c]iphered through the

                list of RX’s you sent from Pagosa for last month. These are all areas for



                                             47
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 48 of 61




                   opportunities.” And below that comment Hicks provided a list of types of

                   drugs and the more profitable drugs that could be substituted for the patient’s

                   current drug. For example, for individuals currently taking topical

                   corticosteroids, Hicks suggested they could substitute Fluocinonide or

                   Diflorasone.

                f. On December 10, 2016, Todd Antrobus sent a sixth email to Cusick that

                   attached an Excel sheet labeled “Compounds vs. Legends Drugs 11.01.16 to

                   11.30.16.” This Excel sheet contains detailed information regarding 330

                   prescriptions Pagosa Specialty Pharmacy filled in November of 2016.

                g. On January 10, 2017, Drew Hicks sent Cusick an email that attached 17

                   pages. Each page identified a patient, the prescriber and then identified the

                   type of medications that could be sold to a given patient. Within the body of

                   the email, Drew Hicks said: “Here are the Rx’s I test billed last month. Let

                   me know which Prescribers/Patients you’re comfortable with and I can call to

                   try and get the Rx signed/approved or you can if you have the time. Some big

                   money here to be made. Let me know how I can help.”

        233.    Notwithstanding the OPS defendants’ efforts to recruit Cusick, he never

 participated in OPS’ scheme, either while working at Pagosa Specialty Pharmacy or as the owner

 of the Bayfield Pharmacy.

        234.    In essence, what OPS was doing was preying on the patients of a given pharmacy,

 using questionable means to identify a more expensive drug that could be sold a given patient,

 test billing the patient’s insurance company without the patient’s permission, then causing the

 patient’s physician to prescribe the new medication. Once this process was complete, OPS



                                                 48
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 49 of 61




 would refer the prescription to the pharmacy in consideration for a 50% commission on the net

 revenue generated by the new prescription.

         235.    At all times material hereto, OPS performed this data mining for Pagosa Specialty

 Pharmacy and referred new prescriptions to Pagosa Specialty Pharmacy for fulfillment.

         236.    At all times material hereto, OPS generated new prescriptions for Pagosa

 Specialty Pharmacy using this data mining scheme that were paid for in whole or in part by

 GHPs.

         237.    On one or more occasions, John Kutzko admitted to Relator Cusick that Pagosa

 Specialty Pharmacy was using OPS’s data mining services and that this service was referring

 new scripts that were paid for in whole or in part by GHPs.

         238.    Relator Cusick was also told by Drew Hicks that OPS was engaging in this

 scheme with numerous other pharmacies around the country. To make this point, Drew Hick

 sent Cusick an email which demonstrated that OPS had remote access to six other pharmacies.

         D. Pagosa Specialty Pharmacy’s independent use of sham W-2 employees:

         239.    At all times material hereto, Pagosa Specialty Pharmacy independently engaged

 individuals to market prescriptions on their behalf and illegally paid those individuals kickbacks

 in the form of commissions on the prescriptions they generated for Pagosa Specialty Pharmacy to

 fill.

         240.    Many of the prescriptions these individuals generated were paid for in whole or in

 part by GHPs.

         241.    Any such individuals Pagosa Specialty Pharmacy attempts to pass off as

 employees never engaged in a bona fide employment relationship.




                                                 49
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 50 of 61




        242.    Per the IRS guidelines: (1) from a behavioral perspective, Pagosa Specialty

 Pharmacy never controlled or had the right to control these individual’s actions – the individuals

 were free from these defendants’ control and direction in the performance of their work; (2) from

 a financial perspective, the business aspects of the job were not controlled by these defendants;

 and/or (3) there were no written contracts of employment and/or there were no consistent wages

 or benefits as one would expect in an employment relationship.

        243.    Furthermore, use of the IRS’ 20 Factor Test for determining whether an

 individual is an independent contractor or an employee evidences that said individuals would

 never qualify as employees. From use of this 20 Factor Test there literally was no indicia of an

 employment relationship.

        244.    And, from a simple common law standpoint, with respect to the specific details of

 the job results, and the means by which the job results were accomplished, Pagosa Specialty

 Pharmacy never had the right to control these individuals, or exercised any level of control over

 these individuals.

        245.    The evidence is abundant that these individuals independently obtained

 prescriptions, with no direction from, or control by, Pagosa Specialty Pharmacy. These

 individuals sporadically obtained prescriptions and then referred these prescriptions to Pagosa

 Specialty Pharmacy for a percentage based commission. Any efforts to claim they were bona

 fide employees is a sham.

        246.    One of these sham W-2 employees was Jimmy Vreeland, who began receiving

 commissions from Pagosa Specialty Pharmacy for sales commencing in November of 2015.

        247.    Over time, Pagosa Specialty Pharmacy’s records evidence the following payments

 were made to Jimmy Vreeland:



                                                 50
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 51 of 61




    Date Range      Commission          Insurance Pay         Cost of Goods          Payout
     11/1/15 to
                       35%                    $11,020.93                $6,620.49       $1,540.15
      11/30/15
     12/1/15 to
                       35%                    $13,733.02                $9,200.27       $1,586.46
      12/31/15
  2/1/16 to 2/15/16    35%                     $3,759.47                $2,814.51         $330.74
     2/16/16 to
                       35%                     $4,069.72                $1,638.34         $850.98
       2/29/16
  3/1/16 to 3/15/16    35%                    $10,160.12                $5,208.14       $1,733.19
     5/29/16 to
                       35%                       $425.80                 $374.45           $17.97
       6/11/16


        248.    Review of Pagosa Specialty Pharmacy’s available payroll records evidence that

 Jimmy Vreeland was never on its payroll and hence, he was never paid any regular wages; he

 was only paid commissions.

        249.    Similarly, with reference to the Excel sheet Don Jones created on August 29,

 2016 titled “Year to Date Rep Group Data_jdk_09282016” it is clear that as of 9/27/16 Jimmy

 Vreeland had never been paid any W-2 wages, even though as evidenced by the table above he

 had been paid commissions in 2016.

        250.    And, with reference to that same Excel sheet, it is clear that Jimmy Vreeland was

 the sales person for 20 prescriptions that were paid for by Tricare.

        251.    The scripts for which Pagosa Specialty Pharmacy paid these sham W-2

 employees a commission violate the AKS because these pharmacies paid remuneration to these

 sham W-2 employee in return for them referring prescription drug patients to these pharmacies

 for the purpose of these pharmacies filling scripts that were paid in whole or in part by a GHP.

        252.    Because the subsequent claims by the Pagosa Specialty Pharmacy defendants to

 GHPs for reimbursement with respect to these referred claims resulted from illegal kickbacks,

 said claims were false for purposes of the FCA.



                                                 51
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 52 of 61




        253.    The subsequent claims by the Pagosa Specialty Pharmacy defendants to GHPs for

 reimbursement were also false because they arose from phony doctor-patient relationships, of

 which the Pagosa Specialty Pharmacy defendants knew or should have known. The illegal

 marketers employed a regular group of health care professionals, many of whom were not

 physicians, such as physician assistants or nurse practitioners, who had DEA authorization to

 write prescriptions. Once the marketer had a given patient interested in acquiring the

 prescription drug(s), the marketer would have a pre-arranged health care professional talk with

 the patient with a pre-ordained mission of writing the prescription. In many cases, the health care

 professional would receive a kickback in the form of a commission for writing the prescription.

        254.    In addition, the subsequent claims by the Pagosa Specialty Pharmacy defendants

 to GHPs for reimbursement were also false because the intent of obtaining these particular

 prescriptions was to sell a given patient the most expensive form of a given drug(s) when less

 expensive forms of a given drug were available, or a less expensive substitute drug would have

 been appropriate to achieve the sought health remedy. By intentionally selling the most

 expensive drug possible, the defendants violated Tricare and Medicare’s requirements to provide

 medically necessary drugs in the most economic form possible.

        255.    The actions by the Pagosa Specialty Pharmacy defendants demonstrate a requisite

 degree of “knowledge” or scienter. The defendants’ overall acts of paying a percentage

 commission to obtain scripts is such a clear violation of the AKS and the FCA that, at a

 minimum, a reckless disregard or deliberate indifference with respect to whether their actions

 violated the FCA is established.

        256.    The falsity of these claims was material. The government would not have paid

 these claims if it had known they were generated by an illegal kickback scheme; and the



                                                 52
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 53 of 61




 government has repeatedly prosecuted individuals and entities, both criminally and civilly, who

 have engaged in similar illegal prescription drug referral schemes. There is no contestable issue

 of materiality with regard to an AKS-based claim. All claims resulting from AKS violations are

 “false or fraudulent” as a matter of law.

 IX. FIRST CLAIM FOR RELIEF – FCA LIABILITY, 31 U.S.C. § 3729(a)(1)(A)-(B), (G)
                   (Pagosa Specialty Pharmacy Defendants)

        257.    The Relator incorporates by reference the prior allegations of this Amended

 Complaint, as though more fully set forth herein.

        258.    This is a claim for treble damages and penalties under the False Claims Act, 31

 U.S.C. § 3729-3733 (“FCA”).

        259.    This claim for relief addresses the liability of those entities and individuals who

 were responsible for the operation of the pharmacy located at 426 Pagosa Street, Pagosa Springs,

 Colorado that operated under the tradename “Pagosa Specialty Pharmacy.”

        260.    Those entities and individuals will be referred to herein as the “Pagosa Specialty

 Pharmacy Defendants.”

        261.    The Pagosa Specialty Pharmacy Defendants include John Kutzko, Linda Kutzko,

 Don Jones, PP&C, Toby Lirot, Casey Lirot, PagSprPharmLLC, Todd Antrobus, Wanda Antrobus

 and Brian Hicks.

        262.    The relative dates when each of these entities and/or individuals were responsible

 for the acts and omissions of Pagosa Specialty Pharmacy is specified above in ¶ ¶ 120-146.

        263.    On or about August 2014 and continuing until approximately February 2019, the

 Pagosa Specialty Pharmacy Defendants knowingly and willfully solicited, offered and paid

 remuneration directly or indirectly, overtly or covertly, in cash or in kind to induce others to

 market, sell and then refer to Pagosa Specialty Pharmacy prescriptions for drugs understanding

                                                  53
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 54 of 61




 that payment for these prescriptions would be made in whole or in part by one or more GHP

 including the Medicare, Medicaid or Tricare programs.

         264.    Subsequent to receipt of these illegally obtained prescriptions, the Pagosa

 Specialty Pharmacy Defendants filled, or caused to be filled, these prescriptions and then

 presented, or caused to be presented, claims to the applicable GHP, including Medicare,

 Medicaid and TRICARE for reimbursement.

         265.    The Pagosa Specialty Pharmacy Defendants were then paid by the applicable

 GHP with respect to these false claims they submitted, or caused to be submitted, with respect to

 these illegal prescriptions.

         266.    By soliciting and then paying remuneration to others to market, sell and then refer

 prescriptions to Pagosa Specialty Pharmacy, the Pagosa Specialty Pharmacy Defendants violated

 the AKS.

         267.    Because the Pagosa Specialty Pharmacy Defendants’ actions were in violation of

 the AKS, all claims submitted to GHPs that were in violation of the AKS were false claims per

 the FCA. Patient Protection and Affordable Care Act of 2010, Pub.L. No. 111–148, 124 Stat.

 119, codified at 42 U.S.C.§ 1320a–7b(g).

         268.    In addition, the claims for reimbursement for filling prescriptions the Pagosa

 Specialty Pharmacy Defendants submitted, or caused to be submitted, to one or more GHPs were

 also false because the prescriptions arose from a patient-practitioner relationship that the Pagosa

 Specialty Pharmacy Defendants knew or should have known was not valid.

         269.    Said claims for reimbursement for filling prescriptions the Pagosa Specialty

 Pharmacy Defendants submitted, or caused to be submitted, to one or more GHPs were also false

 because the Pagosa Specialty Pharmacy Defendants knowingly caused others to market and/or



                                                  54
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 55 of 61




 sell, and then refer for filling prescriptions for drugs that were intentionally the highest priced

 drugs the Pagosa Specialty Pharmacy Defendants could sell and refill when less expensive forms

 of a given drug or other drugs were available and appropriate.

        270.      The submission of these false claims to one or more GHP was knowingly false as,

 inter alia, the Pagosa Specialty Pharmacy Defendants “knowingly” violated the AKS,

 “knowingly” participated in a scheme that employed invalid patient-practitioner relationships,

 and/or “knowingly” sold the most expensive forms of a given drug when less expensive forms of

 that drug or other drugs were available and appropriate.

        271.      The Pagosa Specialty Pharmacy Defendants’ acts and omissions were material as

 defined by the FCA.

        272.      By virtue of the acts described above, the Pagosa Specialty Pharmacy Defendants

 knowingly caused false claims for payment or approval to be presented to the United States in

 violation of 31 U.S.C. § 3729(a)(1)(A), as amended May 20, 2009, when they submitted or

 caused the submission of these false claims to one or more GHP, including Medicare, Medicaid

 and Tricare.

        273.      By virtue of the acts described above, the Pagosa Specialty Pharmacy Defendants

 knowingly made or used, or caused to be made or used, false records or statements to get the

 United States to pay or approve false or fraudulent claims, in violation of 31 U.S.C. §

 3729(a)(1)(B).

        274.      By virtue of the acts described above, the Pagosa Specialty Pharmacy Defendants

 knowingly concealed or knowingly and improperly avoided or decreased an obligation to pay or

 transmit money or property to the government, in violation of 31 U.S.C. § 3729(a)(1)(G) by

 failing to refund the fraudulently obtained GHP payments they received.



                                                   55
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 56 of 61




        275.    Relators cannot now identify all of the false claims for payment that the Pagosa

 Specialty Pharmacy Defendants presented or caused to be presented, or the false records or

 statements the Pagosa Specialty Pharmacy Defendants made or used, or caused to be made or

 used, in support of such claims because Relators do not have access to all of the records in the

 Pagosa Specialty Pharmacy Defendants’ or third parties’ possession.

        276.    The United States, unaware of the falsity of the records, statements, and claims

 that the Pagosa Specialty Pharmacy Defendants made or caused to be made, paid claims that

 would not be paid but for the Pagosa Specialty Pharmacy Defendants’ illegal conduct.

        277.    At all times material hereto, the Pagosa Specialty Pharmacy entity defendants

 acted by and through their officers, directors, employees and/or agents and are, therefore,

 vicariously responsible for the actions of said officers, directors, employees and/or agents.

        278.    The United States, unaware that the Pagosa Specialty Pharmacy Defendants were

 knowingly concealing and/or knowingly seeking to avoid or decrease their obligation to pay or

 transmit money or property to the government, did not collect from the Pagosa Specialty

 Pharmacy Defendants monies that it would have collected but for the Pagosa Specialty Pharmacy

 Defendants’ unlawful conduct.

        279.    Defendants have damaged, and continue to damage, the United States in a

 substantial amount to be determined at trial.

        280.    Additionally, the United States is entitled to treble damages and to the maximum

 penalty under 31 U.S.C. §3729, as adjusted by the Federal Civil Penalties Inflation Adjustment

 Act of 1990, for each and every violation alleged herein.




                                                 56
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 57 of 61




                          X.   SECOND CLAIM FOR RELIEF–
                      FCA LIABILITY, 31 U.S.C. § 3729(a)(1)(A)-(B), (G)
                                   (NHS Defendants)

        281.    The Relator incorporates by reference the prior allegations of this Amended

 Complaint, as though more fully set forth herein.

        282.    This is a claim for treble damages and penalties under the False Claims Act, 31

 U.S.C. § 3729-3733 (“FCA”).

        283.    This claim for relief addresses the liability of those entities and/or individuals who

 were responsible for the operation of the NHS entities.

        284.    Those entities and individuals will be referred to herein as the “NHS Defendants.”

        285.    The NHS Defendants include NHS Sales, NHS Pharma, Ron Green, Melinda

 Green and David Tenney.

        286.    From at least December 2015 and continuing until the present, the NHS

 Defendants knowingly and willfully solicited and received remuneration in the form of payments

 and commissions directly or indirectly, overtly or covertly, in cash or in kind in return for

 marketing prescription drugs, selling the prescription drugs, referring the prescriptions to a given

 pharmacy, and then submitting the claims for reimbursement for the prescription when it was

 understood that payment for said prescription was to be made in whole or in part by one or more

 GHP including the Medicare, Medicaid or Tricare programs.

        287.    The NHS Defendants have engaged, and continue to engage, in a nationwide

 scheme to violate the AKS and the FCA by so marketing prescription drugs, selling the

 prescription drugs, referring the prescriptions to a given pharmacy, and then submitting the

 claims for reimbursement on behalf of a given pharmacy when it was understood that payment




                                                  57
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 58 of 61




 for said referred prescriptions was to be made in whole or in part by one or more GHP including

 the Medicare, Medicaid or Tricare programs.

          288.   By soliciting and then receiving remuneration from others to market, sell, refer

 prescriptions to numerous pharmacies throughout the United States, including the Pagosa

 Specialty Pharmacy and then submit the claim for reimbursement to a given GHP, the NHS

 Defendants violated the AKS.

          289.   The NHS Defendants knew that when they marketed, sold and referred a given

 prescription to a given pharmacy, on behalf of a patient insured by a GHP, that said pharmacy

 would fill the prescription and then present to the applicable GHP a claim for payment that was

 tainted by the NHS Defendants’ violation of the AKS.

          290.   Because the NHS Defendants’ actions were in violation of the AKS, all claims

 that the NHS Defendants submitted or caused to be submitted to GHPs that were tainted by the

 NHS Defendants’ violation of the AKS were false claims per the FCA. Patient Protection and

 Affordable Care Act of 2010, Pub.L. No. 111–148, 124 Stat. 119, codified at 42 U.S.C.§ 1320a–

 7b(g).

          291.   In addition, the claims for reimbursement for filling these prescriptions that the

 NHS Defendants submitted or caused to be submitted to one or more GHPs, were also false

 because the prescriptions arose from a patient-practitioner relationship that the NHS Defendants

 knew or should have known was not valid.

          292.   Said claims for reimbursement for filling prescriptions the NHS Defendants

 submitted or caused to be submitted to one or more GHPs, were also false because the NHS

 Defendants knowingly marketed and/or sold and then referred for filling prescriptions for drugs




                                                  58
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 59 of 61




 that were intentionally the highest priced drugs the NHS Defendants could sell and refill when

 less expensive forms of a given drug or other drugs were available and appropriate.

        293.    The NHS Defendants’ actions were knowingly false as, inter alia, the NHS

 Defendants “knowingly” violated the AKS, “knowingly” participated in a scheme that employed

 invalid patient-practitioner relationships, and/or “knowingly” sold the most expensive forms of a

 given drug when less expensive forms of that drug or other drugs were available and appropriate.

        294.     The NHS Defendants’ acts and omissions were material.

        295.    By virtue of the acts described above, the NHS Defendants knowingly caused

 false claims for payment or approval to be presented to the United States in violation of 31

 U.S.C. § 3729(a)(1)(A), as amended May 20, 2009, when they caused the submission of these

 false claims to one or more GHP, including Medicare, Medicaid and Tricare.

        296.    By virtue of the acts described above, the NHS Defendants knowingly made or

 used, or caused to be made or used, false records or statements to get the United States to pay or

 approve false or fraudulent claims, in violation of 31 U.S.C. § 3729(a)(1)(B).

        297.    By virtue of the acts described above, the NHS Defendants knowingly concealed

 or knowingly and improperly avoided or decreased an obligation to pay or transmit money or

 property to the government, in violation of 31 U.S.C. § 3729(a)(1)(G) by failing to refund the

 fraudulently obtained GHP payments they received.

        298.    Relators cannot now identify all of the false claims for payment that the NHS

 Defendants presented or caused to be presented, or the false records or statements the NHS

 Defendants made or used, or caused to be made or used, in support of such claims because

 Relators do not have access to all of the records in the NHS Defendants’ or third parties’

 possession.



                                                 59
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 60 of 61




        299.    The United States, unaware of the falsity of the records, statements, and claims

 that the NHS Defendants made or caused to be made, paid claims that would not be paid but for

 the NHS Defendants’ illegal conduct.

        300.    At all times material hereto, the NHS entity defendants acted by and through their

 officers, directors, employees and/or agents and are, therefore, vicariously responsible for the

 actions of said officers, directors, employees and/or agents.

        301.    The United States, unaware that the NHS Defendants were knowingly concealing

 and/or knowingly seeking to avoid or decrease their obligation to pay or transmit money or

 property to the government, did not collect from the NHS Defendants monies that it would have

 collected but for the NHS Defendants’ unlawful conduct.

        302.    Defendants have damaged, and continue to damage, the United States in a

 substantial amount to be determined at trial.

        303.    Additionally, the United States is entitled to treble damages and to the maximum

 penalty under 31 U.S.C. §3729, as adjusted by the Federal Civil Penalties Inflation Adjustment

 Act of 1990, for each and every violation alleged herein.

                                XI.       PRAYER FOR RELIEF

        WHEREFORE, the Relator, William Cusick, on behalf of the United States, requests: (a)

 that the United States Government recover from the Defendants all sums which it improvidently

 paid from federal GHPs, including the Medicare, Medicaid or Tricare federal programs, as a

 result of the Defendants’ actions, including interest thereon; (b) that the damages described in (a)

 be trebled as provided in 31 U.S.C. § 3729(a); (c) that the maximum civil penalty be assessed

 against the Defendants for each false claim, record or statement submitted directly or indirectly

 to the Government as a result of their wrongful actions; (d) that the Court award the Relator all



                                                 60
Case No. 1:19-cv-02856-RBJ Document 26 filed 09/28/21 USDC Colorado pg 61 of 61




 amounts as are permitted under 31 U.S.C. § 3730(d), including an appropriate share of any sums

 recovered and benefits obtained in this action, now or in the future, along with the Relator’s

 reasonable expenses, attorney fees, and costs incurred herein; (e) that the Court award pre-

 judgment interest on all amounts owed; and (f) that the Court grant any additional appropriate

 relief with respect to this qui tam action.

     THE RELATOR DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE

        Respectfully submitted this Tuesday, September 28, 2021.

                                               THE LAW FIRM OF MICHAEL S. PORTER LLC

                                               By:    s/ Michael S. Porter
                                                      Michael S. Porter, Esq.
                                                      4350 Wadsworth Blvd., Suite 300
                                                      Wheat Ridge, CO 80033
                                                      Telephone: (303) 940-8370
                                                      Fax: (720) 512-4918
                                                      E-mail: porterlaw@comcast.net

                                                      ATTORNEY FOR THE RELATOR
                                                      WILLIAM CUSICK


 Relator’s address:
 695 Harvard Avenue
 Pagosa Springs, CO 81147




                                                 61
